Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 12 of 44
                                                                   465


                                                                         Page 1


       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                              Case No.:
            -against-                         15-cv-07433-RWS

       GHISLAINE MAXWELL,

                    Defendants.

       - - - - - - - - - - - - - - - - - - - - x

                             **CONFIDENTIAL**

                   Videotaped deposition of GHISLAINE
              MAXWELL, taken pursuant to subpoena, was
              held at the law offices of BOIES
              SCHILLER & FLEXNER, 575 Lexington
              Avenue, New York, New York, commencing
              April 22, 2016, 9:04 a.m., on the above
              date, before Leslie Fagin, a Court
              Reporter and Notary Public in the State
              of New York.

                             - - -
                   MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 23 of 44
                                                                   465


                                                                         Page 2
  1
  2    APPEARANCES:
  3
       BOIES SCHILLER & FLEXNER, LLP
  4    Attorneys for Plaintiff
                 401 East Las Olas Boulevard
  5              Fort Lauderdatle, Florida, 33301
       BY:       SIGRID McCAWLEY, ESQUIRE
  6              MEREDITH SCHULTZ, ESQUIRE
                 EMMA ROSEN, PARALEGAL
  7
  8
       FARMER JAFFE WEISSING EDWARDS FISTOS &
  9    LEHRMAN, P.L.
                 Attorneys for Plaintiff
 10              425 N. Andrews Avenue
                 Fort Lauderdale, Florida 33301
 11    BY:       BRAD EDWARDS, ESQUIRE
 12
 13    PAUL G. CASSELL, ESQUIRE
       Attorneys for Plaintiff
 14              383 South University Street
                 Salt Lake City, Utah 84112
 15
 16
       HADDON MORGAN FOREMAN
 17    Attorneys for Defendant
                 150 East 10th Avenu
 18              Denver, Colorado 80203
       BY:       JEFFREY S. PAGLIUCA, ESQUIRE
 19              LAURA A. MENNINGER, ESQUIRE
 20
 21    Also Present:
 22        James Christe, videographer
 23
 24
 25
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 34 of 44
                                                                   465


                                                                         Page 3
  1
  2                 THE VIDEOGRAPHER:        We are now on
  3           the record and recording.          This begins
  4           disk No. 1 in the deposition of
  5           Ghislaine Maxwell in the matter of
  6           Virginia Giuffre versus Ghislaine
  7           Maxwell in the U.S. District Court for
  8           the Southern District of New York.
  9                 Today is April 22, 2016 the time is
 10           9:04 a.m..     This deposition is being
 11           taken at 575 Lexington Avenue in New
 12           York at the request of Sigrid McCawley
 13           of Boies Schiller & Flexner.
 14                 The videographer is James Christe
 15           and the court reporter is Leslie Fagin.
 16           Will counsel state their appearance and
 17           whom they represent and then court
 18           reporter swear in Ms. Maxwell.
 19                 MS. McCAWLEY:       My name is Sigrid
 20           McCawley with my colleague Meredith
 21           Schultz.     We are with Boies Schiller &
 22           Flexner.     We represent Ms. Giuffre.
 23                 MR. EDWARDS:      Brad Edwards.       I also
 24           represent Ms.      Giuffre.
 25                 MR. CASSELL:      Paul Cassell, I also
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 45 of 44
                                                                   465


                                                                         Page 4
  1                G Maxwell - Confidential
  2           represent Ms. Giuffre.
  3                   MR. PAGLIUCA:     Jeff Pagliuca and
  4           Laura Menninger on behalf of Ms.
  5           Maxwell.
  6    G H I S L A I N E           M A X W E L L,        called
  7    as a     witness,     having been duly sworn by a
  8    Notary Public, was examined and testified as
  9    follows:
 10    EXAMINATION BY
 11    MS. McCAWLEY:
 12           Q.     Good morning.      I'm going to explain
 13    some of the rules that will happen with
 14    respect to depositions.
 15                  Have you ever been deposed before?
 16           A.     I have not.
 17           Q.     What is going to happen here, we
 18    have a court reporter and a videographer.
 19    What they do is take down the words that we
 20    say so when I ask you a question they will
 21    record what you say in response to that.               So
 22    we have to be mindful that in order for them
 23    to do their job we can't talk over each
 24    other.
 25                  Another issue you have to be weary
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 59 of 44
                                                                   465


                                                                         Page 8
  1                G Maxwell - Confidential
  2    It's in the process of being sold.             It still
  3    requires some final paperwork to be done, so
  4    just for the purposes of clarity.
  5            Q.     Do you have a new address where you
  6    will be living?
  7            A.     I do not.
  8            Q.     For the purpose of the record, if
  9    there is something I ask you that you later
 10    remember something else or need to correct
 11    your testimony in some way, you can do that,
 12    just let me know what it is and we will go
 13    back to that question and can you clarify.
 14           A.     Of course.     I just wanted to be
 15    clear, there is still some paperwork pending
 16    for final release, but it's in the process of
 17    sale.    But I don't have another address
 18    currently, so whilst that should still be of
 19    record that the mail could be forwarded
 20    there, so for purposes of clarity I wanted to
 21    be clear.
 22           Q.     I appreciate that.
 23                  So Ms. Maxwell, when did you first
 24    recruit a female to work for Mr. Epstein?
 25                  MR. PAGLIUCA:      Again.    I object to
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 10
                                                              6 ofof44
                                                                     465


                                                                           Page 9
   1               G Maxwell - Confidential
   2          form and foundation of the question.
   3          Q.      You can answer the question.
   4          A.      First of all, can you please
   5    clarify the question.         I don't understand
   6    what you mean by female, I don't understand
   7    what you mean by recruit.          Please be more
   8    clear and specific about what you are
   9    suggesting.
 10           Q.     Are you a female, is that the sex
 11     that you are?
 12           A.     I am a female.
 13           Q.     That's what I'm referring to a
 14     female and I'm asking you when you first, the
 15     very first time you recruited a female to
 16     work for Mr. Epstein?
 17           A.     Again, I don't understand what
 18     female -- I am a 54 year old women.
 19           Q.     I'm not making it age, any age of a
 20     female that you recruited to work for Mr.
 21     Epstein?
 22           A.     Again, I was somebody who hired a
 23     number of people to work for Mr. Epstein and
 24     hiring is one of my functions.
 25           Q.     And when is the first time you
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 15
                                                              7 ofof44
                                                                     465


                                                                       Page 14
   1               G Maxwell - Confidential
   2                  Any female under the age of 18, did
   3    you invite them to come to Jeffrey's home?
   4                  MR. PAGLIUCA:      Object to the form
   5          and foundation.
   6          A.      Again, as I said, I am not aware of
   7    inviting anybody other than friends of mine
   8    who have children to the house.
   9          Q.      Did you invite Virginia Giuffre to
 10     come to Jeffrey Epstein's home when she was
 11     under the age of 18?
 12                  MR. PAGLIUCA:       Object to the form
 13           and foundation.
 14           A.     Virginia Roberts held herself out
 15     as a masseuse and invited herself to come and
 16     give a massage.
 17           Q.     My question is, did you invite
 18     Virginia Roberts when she was under the age
 19     of 18 to come to Jeffrey Epstein's home?
 20                  MR. PAGLIUCA:       Object to the form
 21           and foundation.
 22           A.     Again, Virginia Roberts was a
 23     masseuse --
 24           Q.     I'm asking not asking if she was a
 25     masseuse.     I'm asking if you invited her to
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 16
                                                              8 ofof44
                                                                     465


                                                                       Page 15
   1               G Maxwell - Confidential
   2    come to Jeffrey Epstein's home?
   3            A.    Again, there would be no course to
   4    have a conversation with Virginia unless she
   5    held herself out to be a masseuse.
   6            Q.    I'm not asking that question.           I'm
   7    asking if you invited her to come to Jeffrey
   8    Epstein's home when she was under the age of
   9    18?
 10           A.     Again, I repeat, she was a masseuse
 11     and in the form and as my job, I was to have
 12     people who he wanted for various things
 13     including massage.        She came as a masseuse.
 14           Q.     So you invited her to his home to
 15     come to give a massage, is that correct?
 16                  MR. PAGLIUCA:       Object to the form
 17           and foundation.        Misstates the witness'
 18           testimony.
 19           A.     Again, I did not invite Virginia
 20     Roberts.     She came as a masseuse.
 21           Q.     She who invited her to come as a
 22     masseuse, she just showed up at the front
 23     door?
 24                  MR. PAGLIUCA:       Object to the form
 25           and foundation.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 17
                                                              9 ofof44
                                                                     465


                                                                       Page 16
   1                G Maxwell - Confidential
   2           A.      Ms. Roberts held herself out --
   3           Q.      I'm not asking how she held herself
   4    out.     I'm asking how she arrived at the home.
   5    Did you meet her and invite her to come to
   6    the home or how did she arrive there?
   7                   MR. PAGLIUCA:     Object to the form
   8           and foundation.
   9           A.      Ms. Roberts held her to be a
 10     masseuse and her mother drove her to the
 11     house.
 12            Q.     When did you first meet Virginia
 13     Roberts?
 14            A.     I don't have a recollection of the
 15     first meeting.
 16            Q.     Do you recall meeting her at
 17     Mar-a-Lago?
 18            A.     Like I said, I don't have a
 19     recollection of meeting Ms. Roberts.
 20            Q.     So you recall Ms. Roberts being
 21     brought to the home by her mother, is that
 22     your testimony?
 23            A.     That is my testimony.
 24            Q.     And that is the first time you met
 25     her?
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 10
                                                             18 of 44
                                                                   465


                                                                     Page 17
  1                G Maxwell - Confidential
  2           A.      Like I said, I don't recall meeting
  3     her the first time.        I do remember her mother
  4     bringing her to the house.
  5           Q.      Are you a member at Mar-a-Lago?
  6           A.      No.
  7           Q.      Have you visited Mar-a-Lago?
  8           A.      Yes.
  9           Q.      Did you visit Mar-a-Lago in the
 10     year 2000?
 11           A.     I'm pretty sure I did.
 12           Q.     When Ms. Roberts arrived at the
 13     home with her mother, what happened?
 14           A.     I spoke to her mother outside of
 15     the house and she -- what I don't recall is
 16     exactly what happened because I was talking
 17     to her mother the entire she was in the
 18     house.
 19           Q.     Did you introduce Ms. Roberts to
 20     Jeffrey Epstein?
 21           A.     I don't recall how she actually met
 22     Mr. Epstein.        As I said, I spoke to her
 23     mother the entire time outside the house.
 24           Q.     Did you walk Ms. Roberts up to the
 25     upstairs location at the Palm Beach house to
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 11
                                                             40 of 44
                                                                   465


                                                                     Page 39
  1                 G Maxwell - Confidential
  2            A.      No.
  3            Q.      Were you aware that Jeffrey was
  4     having sexual contact with                          when
  5     she was 13 years old?
  6                    MR. PAGLIUCA:    Object to the form
  7            and foundation.
  8            A.      I would be very shocked and
  9     surprised if that were true.
 10            Q.     Were you in the house when
 11                 was in the house in a private area
 12     with Jeffrey Epstein?
 13                   MR. PAGLIUCA:     Object to the form
 14            and foundation.
 15            A.     Can you repeat the question.
 16            Q.     Were you ever in the Palm Beach
 17     house when Jeffrey Epstein was in the house
 18     with                   ?
 19                   MR. PAGLIUCA:     Object to the form
 20            and foundation.
 21            A.     I've already testified that I have
 22     met her and that she was there
 23                  I don't understand what your
 24     question is asking.
 25            Q.     So you have never seen
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 12
                                                             52 of 44
                                                                   465


                                                                     Page 51
  1                G Maxwell - Confidential
  2     therapists paid?
  3                   MR. PAGLIUCA:     Object to the form
  4           and foundation.
  5           A.      They get paid between 100 and $200.
  6           Q.      Did it vary based on what sexual
  7     acts they performed?
  8                   MR. PAGLIUCA:     Object to the form
  9           and foundation.
 10           A.     No.   It varied depending how much
 11     time, some massage therapists charge more and
 12     some charge less.
 13           Q.     Did the massage therapists that
 14     were hired to come to the home perform sexual
 15     acts for Jeffrey Epstein?
 16                  MR. PAGLIUCA:      Object to the form
 17           and foundation.
 18           A.     What are you asking me?
 19           Q.     I'm asking if the massage
 20     therapists --
 21           A.     Are you asking me about underage
 22     girls?
 23           Q.     I'm asking in general, did any of
 24     the massage therapists in the home --
 25           A.     Are you asking if they were paid
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 13
                                                             53 of 44
                                                                   465


                                                                     Page 52
  1                G Maxwell - Confidential
  2     for sexual acts.
  3           Q.      I'm asking if they performed sexual
  4     acts?
  5                   MR. PAGLIUCA:     Object to the form
  6           and foundation.
  7           Q.      Did any of the massage therapists
  8     who were at the home perform sexual acts for
  9     Jeffrey Epstein?
 10           A.     I don't know what you mean by
 11     sexual acts.
 12           Q.     Did any of the massage therapists
 13     who were working at the home perform sexual
 14     acts, including touching the breasts,
 15     touching the vaginal area, being touched
 16     while Jeffrey is masturbating, having
 17     intercourse, any of those things?
 18                  MR. PAGLIUCA:      Objection.     Form and
 19           foundation.
 20                  To the extent any of this is asking
 21           for to your knowledge any consensual sex
 22           act that may or may not have involved
 23           you, I'm instructing you not to answer
 24           the question.
 25           Q.     I'm not asking about consensual sex
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 14
                                                             54 of 44
                                                                   465


                                                                     Page 53
  1                G Maxwell - Confidential
  2     acts.      I'm asking whether any of the massage
  3     therapists performed sexual acts for Mr.
  4     Epstein, as I have just described?
  5           A.      I have never seen anybody have
  6     sexual intercourse with with Jeffrey, ever.
  7           Q.      I'm not asking about sexual
  8     intercourse.      I'm asking about any sexual
  9     act, touching of the breast -- did you ever
 10     see -- can you read back the question?
 11                  (Record read.)
 12           A.     I'm not addressing any questions
 13     about consensual adult sex.          If you want to
 14     talk about what the subject matter, which is
 15     defamation and lying, Virginia Roberts, that
 16     you and Virginia Roberts are participating in
 17     perpetrating her lies, I'm happy to address
 18     those.     I never saw any inappropriate
 19     underage activities with Jeffrey ever.
 20           Q.     I'm not asking about underage.          I'm
 21     asking about whether any of the masseuses
 22     that were at the home perform sexual acts for
 23     Jeffrey Epstein?
 24           A.     I have just answered the question.
 25           Q.     No, you haven't.
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 15
                                                             55 of 44
                                                                   465


                                                                     Page 54
  1              G Maxwell - Confidential
  2           A.     I have.
  3           Q.     No, you haven't.
  4           A.     Yes, I have.
  5           Q.     You are refusing to answer the
  6     question.
  7           A.     Let's move on.
  8           Q.     I'm in charge of the deposition.           I
  9     say when we move on and when we don't.
 10                  You are here to respond to my
 11     questions.     If you are refusing to answer the
 12     court will bring you back for another
 13     deposition to answer these questions.
 14                  Do you understand that?
 15                  MR. PAGLIUCA:      You don't need to
 16           threaten the witness.
 17                  MS. McCAWLEY:      I'm not threatening
 18           her.    I'm making sure the record is
 19           clear.
 20                  MR. PAGLIUCA:      Certainly can you
 21           apply to have someone come back and the
 22           court may or may not have her come back
 23           again.
 24                  Again, she is not answering
 25           questions that relate to adult consent
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 16
                                                             56 of 44
                                                                   465


                                                                     Page 55
  1                 G Maxwell - Confidential
  2             sex acts.     Period.       And that's the
  3             instruction and we can take it up with
  4             the court.
  5             Q.     Ms. Maxwell, are you aware of any
  6     sexual acts with masseuses and Jeffrey
  7     Epstein that were nonconsensual?
  8             A.     No.
  9             Q.     How do you know that?
 10            A.     All the time that I have been in
 11     the house I have never seen, heard, nor
 12     witnessed, nor have reported to me that any
 13     activities took place, that people were in
 14     distress, either reported to me by the staff
 15     or anyone else.       I base my answer based on
 16     that.
 17            Q.     Are you familiar with a person by
 18     the name of                     ?
 19            A.     I am.
 20            Q.     Has                    given a statement
 21     to police about you performing sexual acts on
 22     her?
 23            A.     I have not heard that.
 24            Q.     Has                    given a statement
 25     to police about Jeffrey Epstein performing
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 17
                                                             93 of 44
                                                                   465


                                                                     Page 92
  1                G Maxwell - Confidential
  2             Q.    In your responsibilities in working
  3     for Jeffrey, would you book massages for him
  4     on any given day so that he would have a
  5     massage scheduled?       Would you take a call for
  6     example and book a massage for him?
  7                   MR. PAGLIUCA:     Objection to the
  8             form and foundation.
  9             Q.    You can answer.
 10           A.     Typically, that was not my
 11     responsibility.      He would either book the
 12     massage himself or one of his other
 13     assistants would do that.
 14           Q.     From time to time you had to do
 15     that?
 16                  MR. PAGLIUCA:      Objection to the
 17           form and foundation.
 18           A.     Like I said, typically it was
 19     somebody else's responsibility.
 20           Q.     If you were unable to book a girl
 21     for a massage on a given day, would that mean
 22     that you were responsible for giving him a
 23     sexual massage?
 24                  MR. PAGLIUCA:      Objection to the
 25           form and foundation and I instruct you
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 18
                                                             94 of 44
                                                                   465


                                                                     Page 93
  1                 G Maxwell - Confidential
  2             not to answer any questions about any of
  3             your consensual adult sexual activity.
  4             Q.     So you are not going to answer that
  5     question?
  6             A.     You just heard my counsel.
  7             Q.     Have you ever said to anybody that
  8     recruiting other girls to perform sexual
  9     massages for Jeffrey Epstein takes the
 10     pressure off you?
 11                   MR. PAGLIUCA:     Object to the form
 12            and foundation.
 13            A.     Repeat the question and break it
 14     out.
 15            Q.     Have you ever said to anybody that
 16     you recruit girls --
 17            A.     Stop right there.      I never
 18     recruited girls, let's stop there.            Now
 19     breakdown the question.
 20            Q.     Have you ever said to anybody --
 21            A.     By girls, we are talking about
 22     underage people -- you said girls, are you
 23     talking about underage -- we are not talking
 24     about consensual acts -- this is a defamation
 25     suit.
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 19
                                                             95 of 44
                                                                   465


                                                                     Page 94
  1                G Maxwell - Confidential
  2             Q.    I'm asking the questions.        I know
  3     what this case is about.         I'm trying to -- I
  4     will ask you questions if you don't
  5     understand the question I can break it down
  6     for you.      I'm happy to do that.
  7             A.    Break it down a lot please.
  8             Q.    I will do that.
  9                   The question is, have you ever said
 10     to anybody that you recruit other girls --
 11           A.     Why don't you stop there.
 12           Q.     Let me finish my question.
 13                  Have you ever said to anybody that
 14     you recruit girls to take the pressure off
 15     you, so you won't have to have sex with
 16     Jeffrey, have you said that?
 17                  That's the question?
 18           A.     You don't ask me questions like
 19     that.    First of all, you are trying to trap
 20     me, I will not be trapped.          You are asking me
 21     if I recruit, I told you no.          Girls meaning
 22     underage, I already said I don't do that with
 23     underage people and as to ask me about a
 24     specific conversation I had with language, we
 25     talking about almost 17 years ago when this
Case
 Case1:15-cv-07433-LAP
      1:20-cr-00330-AJN Document
                         Document1137-13
                                  204-10 Filed 04/16/21
                                               10/22/20 Page 20
                                                             96 of 44
                                                                   465


                                                                     Page 95
  1                G Maxwell - Confidential
  2     took place.      I cannot testify to an actual
  3     conversation or language that I used with
  4     anybody at any time.
  5           Q.      Have you ever said to anybody that
  6     you recruit other females over the age of 18
  7     to take the pressure off you to having to
  8     have sex with Jeffrey?
  9           A.      I totally resent and find it
 10     disgusting that you use the word recruit.              I
 11     already told you I don't know what you are
 12     saying about that and your implication is
 13     repulsive.
 14           Q.     Answer my question.
 15           A.     I just did.
 16           Q.     Have you ever said to anybody that
 17     you recruit females --
 18           A.     I don't recruit anybody.
 19           Q.     That's an answer.       So you never
 20     said that?
 21           A.     I'm testifying that I cannot
 22     testify to an actual language --
 23           Q.     It's a yes or no.
 24           A.     I will not testify to an actual
 25     statement made 17 years ago, so I cannot
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 138
                                                              21 ofof44
                                                                      465


                                                                      Page 137
   1                G Maxwell - Confidential
   2    the flights?
   3           A.      I can't recollect having a meal
   4    with them, but just so we are clear, the
   5    allegations that                 had a meal on
   6    Jeffrey's island is 100 percent false.
   7           Q.      But he may have had a meal on
   8    Jeffrey's plane?
   9           A.      I'm sure he had a meal on Jeffrey's
  10    plane.
  11           Q.     You do know how many times he flew
  12    on Jeffrey's plane?
  13           A.     I don't.
  14           Q.     Do you know who                   is?
  15           A.     I do.
  16           Q.     How do you know him?
  17           A.     He used to work or still works for
  18
  19           Q.     Did you ever have a relationship
  20    with him?
  21           A.     We are talking about adult
  22    consensual relationships, it's off the
  23    record.
  24           Q.     I'm not asking what you did with
  25    him, I'm asking if you ever had a
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 139
                                                              22 ofof44
                                                                      465


                                                                      Page 138
   1                G Maxwell - Confidential
   2    relationship with him?
   3                   MR. PAGLIUCA:     If you understand
   4            the term relationship, certainly you can
   5            answer that.
   6            A.     Define relationship.
   7            Q.     Somebody that you would have spent
   8    time together, either seeing them in a
   9    romantic relationship or --
  10           A.     You need to be, what do you mean by
  11    romantic.      I was friends with             but you
  12    are suggesting something more so I want to be
  13    clear what you are actually asking me.
  14           Q.     You defined it.       You said you were
  15    friends with him.        If that's what you were
  16    that's all I need to know.
  17                  While you were on the trip with
  18                           , do you recall where you
  19    stayed at these locations, in other words,
  20    would you leave the jet and stay overnight at
  21    a hotel, do you have a recollection of this
  22    trip?
  23           A.     I recollect the trip but if you're
  24    asking me where we stayed, you can see it's a
  25    very fast paced trip.          It was very tiring and
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 172
                                                              23 ofof44
                                                                      465


                                                                      Page 171
   1                G Maxwell - Confidential
   2    more time because I want you to be able to
   3    understand it.
   4                   Knowing that you have the police
   5    report here and knowing about the criminal
   6    investigation, do you believe that Jeffrey
   7    Epstein sexually abused minors?
   8                   MR. PAGLIUCA:     Same objection.
   9            A.     I know what you put in front of me
  10    and I know what I read.
  11           Q.     I'm asking what you believe, do you
  12    believe Jeffrey Epstein sexually abused
  13    minors?
  14           A.     I can only tell you what I read and
  15    what you showed me.
  16           Q.     I'm asking what you believe, from
  17    your own belief, do you believe that Jeffrey
  18    Epstein abused minors?
  19           A.     I can only go from what I know
  20    personally and what I know personally about
  21    what Virginia's lies talked about.              She is
  22    the only person I know that actually claimed
  23    that.     And I can say with certitude that
  24    everything Virginia said was a lie.
  25           Q.     You are aware Jeffrey Epstein was
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 173
                                                              24 ofof44
                                                                      465


                                                                      Page 172
   1                G Maxwell - Confidential
   2    sentenced for sexual abuse, are you aware of
   3    that?
   4                   MR. PAGLIUCA:     Objection to the
   5           form and foundation.
   6           Q.      Are you aware that Jeffrey Epstein
   7    served time for sexual abuse of a minor?
   8                   MR. PAGLIUCA:     Objection to the
   9           form and foundation.
  10           A.     I don't believe that's what he was
  11    sentenced for, actually.
  12           Q.     So you don't know that Jeffrey
  13    Epstein served time for sexually abusing a
  14    minor?
  15                  MR. PAGLIUCA:      Objection to the
  16           form and foundation.
  17           A.     I don't believe that's what he was
  18    sentenced for.
  19           Q.     Do you know that Jeffrey Epstein
  20    was convicted for procuring a minor for
  21    prostitution?
  22                  MR. PAGLIUCA:      Objection to the
  23           form and foundation.
  24           A.     I don't know exactly what he was
  25    convicted of.       I don't know that he was
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 174
                                                              25 ofof44
                                                                      465


                                                                      Page 173
   1                G Maxwell - Confidential
   2    convicted.       I know he spent time in jail.
   3           Q.      Do you know that he spent time in
   4    jail related to an issue with a minor child?
   5                   MR. PAGLIUCA:     Objection to the
   6           form and foundation.
   7           A.      I did not know that.
   8           Q.      What did you think he was spending
   9    time in jail for?
  10           A.     I only know he went to jail for --
  11    it was alleged that he hired -- had an
  12    underage prostitute.
  13           Q.     So knowing that, do you believe
  14    that Jeffrey Epstein sexually abused minors?
  15                  MR. PAGLIUCA:      Objection to the
  16           form and foundation.
  17           A.     I can only tell you what he went to
  18    jail for.
  19           Q.     I'm asking what you believe.           I'm
  20    not asking what he went to jail for.              I'm
  21    asking for your belief.
  22           A.     I cannot testify to what I believe.
  23    I can only say what I have seen in the
  24    reports and I know he went to jail.
  25           Q.     You can testify to what you
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 184
                                                              26 ofof44
                                                                      465


                                                                      Page 183
   1                G Maxwell - Confidential
   2    sexually abused any minor children?
   3           A.      Again, I only know 1000 percent
   4    that Virginia is a liar.           I can only talk to
   5    Virginia, her lies and your inappropriate,
   6    unethical, really unattractive, terrible use
   7    of her and the way that you have abused the
   8    system, used the press for purposes that are
   9    unethical, inappropriate and appalling.
  10           Q.     Do you believe that Jeffrey Epstein
  11    used massages to lure minors to have sex with
  12    him?
  13           A.     Again, that is Virginia's
  14    testimony, which is a lie.
  15           Q.     But do you believe that?
  16           A.     Again, I refer back to Virginia.
  17           Q.     I'm asking whether you believe it
  18    or not?
  19           A.     I can only go with what I know and
  20    I know Virginia is a liar and therefore
  21    that's a lie.
  22           Q.     So you don't believe that?
  23           A.     I said, I only know that Virginia
  24    is lying.
  25           Q.     Are you aware that Jeffrey Epstein
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 185
                                                              27 ofof44
                                                                      465


                                                                      Page 184
   1                G Maxwell - Confidential
   2    is a registered sex offender?
   3           A.      I am.
   4           Q.      Are you aware that Jeffrey Epstein
   5    paid considerable amounts of money to settle
   6    lawsuits with the minor children that he had
   7    sexual contact with?
   8                   MR. PAGLIUCA:     Objection to the
   9           form and foundation.
  10           A.     I have no knowledge of those
  11    issues.
  12           Q.     Why did you continue to maintain
  13    contact with Jeffrey Epstein after he pled
  14    guilty?
  15           A.     I'm a very loyal person and Jeffrey
  16    was very good to me when my father passed
  17    away and I believe that you need to be a good
  18    friend in people's hour of need and I felt
  19    that it was a very thoughtful, nice thing for
  20    me to do to help in very limited fashion
  21    which was helping if he had any issue with
  22    his homes, in terms of the staffing issues.
  23    It was very, very minor but I felt it was
  24    thoughtful in somebody's hour of need.
  25           Q.     Did he continue to pay you during
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 186
                                                              28 ofof44
                                                                      465


                                                                      Page 185
   1                G Maxwell - Confidential
   2    that time period?
   3           A.      I was paid a little.
   4           Q.      You were paid?
   5           A.      Yes.
   6           Q.      When you say a little, what you did
   7    mean by that?
   8           A.      I don't recall exactly the amount.
   9           Q.      So in 2009 when you left him, what
  10    were you being paid?
  11           A.     I just told you, I don't recall.
  12           Q.     Were you being paid $100,000?
  13           A.     I just don't you I don't recall.
  14           Q.     Were you paid over a million
  15    dollars?
  16           A.     I think I would remember over a
  17    million dollars.
  18           Q.     So it was under a million dollars?
  19           A.     It was under a million dollars.
  20           Q.     Was it over $500,000?
  21           A.     I just told you, it was under 500,
  22    it was an amount of money less than $500,000,
  23    less than a million dollars and I did it out
  24    of thoughtfulness and consideration for
  25    somebody who was in trouble.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 187
                                                              29 ofof44
                                                                      465


                                                                      Page 186
   1                G Maxwell - Confidential
   2           Q.      Did you have an attorney to consult
   3    with during the criminal investigation of
   4    Jeffrey Epstein?
   5           A.      I don't believe I did.
   6           Q.      When did you learn that a search
   7    warrant was executed for the Palm Beach
   8    house?
   9           A.      I don't recall exactly.
  10           Q.     Were you present at the house in
  11    advance of the search warrant being executed?
  12                  MR. PAGLIUCA:      Object to the form
  13           of the question.
  14           A.     I don't remember when the search
  15    warrant was executed and I don't remember the
  16    year that the search warrant was executed and
  17    whenever that was, I already testified, I was
  18    very, very infrequently at the house.               So
  19    highly unlikely but I was there a couple of
  20    days, I just don't know which days it was in
  21    relation to the police situation.
  22           Q.     Did you have a computer at the Palm
  23    Beach home that was a computer that you would
  24    use?
  25           A.     No.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 245
                                                              30 ofof44
                                                                      465


                                                                      Page 244
   1                G Maxwell - Confidential
   2    I took of people would only have been
   3    mainstream type magazine type photos and any
   4    photos I took could have been very happily
   5    and expected to be displayed on your parents'
   6    mantel piece or grandparents' mantel piece.
   7           Q.      Is it a lie that you approached
   8    females to bring them to Jeffrey Epstein?
   9                   MR. PAGLIUCA:     Objection to the
  10           form and foundation.
  11           A.     Please ask the question, again.
  12           Q.     Sure.    Is it a lie that you
  13    approached females to bring them to Jeffrey
  14    Epstein?
  15           A.     I don't know what you are asking
  16    me.
  17           Q.     I'm asking you, if it's a lie that
  18    you approached females to bring them to
  19    Jeffrey Epstein?
  20                  MR. PAGLIUCA:      Objection to the
  21           form and foundation.
  22           A.     You are not asking me a good
  23    question, sorry.
  24           Q.     You don't get to choose the
  25    questions.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 246
                                                              31 ofof44
                                                                      465


                                                                      Page 245
   1                G Maxwell - Confidential
   2           A.      I would like to answer your
   3    questions but you are not asking me a
   4    question that I can answer.
   5           Q.      What about that is causing you
   6    pause where you can't answer the question?
   7           A.      You are trying to trap me and
   8    that's not fair, so I already testified that
   9    I hire people across the board, so I would
  10    hire architects, decorators, pool people,
  11    exercise instructors, gardeners, cooks,
  12    chefs, cleaning people.          So I, in the course
  13    of a very long time when I would hire people
  14    I hired people to work for Jeffrey.              So I'm
  15    happy to testify to hiring people for every
  16    possible conceivable proper job that you
  17    could conceive of within the context of
  18    Jeffrey's life and homes.
  19           Q.     Is it a lie that you approached
  20    females to bring them to Jeffrey Epstein for
  21    the purpose of performing massages?
  22                  MR. PAGLIUCA:      Objection to the
  23           form and foundation.
  24           A.     Again, I have already testified
  25    that part of the job that I had was to hire
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 247
                                                              32 ofof44
                                                                      465


                                                                      Page 246
   1                G Maxwell - Confidential
   2    lots of different types of people.              In terms
   3    of whatever -- very small part of my job,
   4    Jeffrey enjoyed getting massages.             I think
   5    that is something we can all agree in this
   6    room and within the context of that, very
   7    infrequently I would go to spas and myself
   8    happily receive a professional nonsexual
   9    massage from a man and/or from a woman and if
  10    that massage was something that I thought was
  11    something that was good, I would ask if that
  12    man or woman would come back and does home
  13    visits.      If that person said that they did,
  14    they would sometimes come, from time to time,
  15    not always, come back to the house to perform
  16    a nonsexual professional male or female
  17    massage.
  18           Q.     Were any of the exercise
  19    instructors you hired under the age of 18?
  20           A.     Again, I don't hire, we've already
  21    established that I don't hire people.               I
  22    interview people to see if they are competent
  23    in the job that they do and/or whether they
  24    are someone who seemed that they can do home
  25    visits.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 248
                                                              33 ofof44
                                                                      465


                                                                      Page 247
   1                G Maxwell - Confidential
   2                   At the point where I think that
   3    there is somebody that has, can be either
   4    whatever the job may be, pool, gardener, chef
   5    and/or exercise instructor and I think they
   6    could be good at whatever it is at whatever
   7    skill that they had and they did a home visit
   8    which would obviously be mandatory and Mr.
   9    Epstein would meet with them and decide if he
  10    wanted to have whatever skill it was that he
  11    would do it and then he would then either
  12    have them come back or hire them.
  13           Q.     Were there any exercise instructors
  14    that worked at the home that were under the
  15    age of 18?
  16                  MR. PAGLIUCA:      Objection to the
  17           form and foundation.
  18           A.     Again, I keep coming back to this,
  19    that the people that I employed or -- not the
  20    right word, the people I would meet to come
  21    and work at the house, under any guise
  22    whatsoever, again, from any of the many
  23    positions that I filled, were all over --
  24    were adults.
  25           Q.     When you say adults, over the age
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 249
                                                              34 ofof44
                                                                      465


                                                                      Page 248
   1                G Maxwell - Confidential
   2    of 18?
   3           A.      I think we can establish what adult
   4    would be.
   5           Q.      You never interviewed or I know you
   6    don't want to use the word hired, whatever
   7    your role was, you brought in an exercise
   8    instructor that was under the age of 18 to
   9    work at the house?
  10                  MR. PAGLIUCA:      Object to the form
  11           and foundation.
  12           A.     I have already testified that what
  13    I was responsible for was to find people who
  14    had competencies in whatever area I was
  15    looking for.       The competencies I was looking
  16    for were professional and adult.
  17           Q.     So there was no exercise instructor
  18    that worked at the Palm Beach house or the
  19    New York house or the New Mexico house or the
  20    USVI under the age of 18?
  21                  MR. PAGLIUCA:      Objection to the
  22           form and foundation.
  23           A.     I can only testify to when I was at
  24    the house.
  25           Q.     Yes.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 250
                                                              35 ofof44
                                                                      465


                                                                      Page 249
   1                G Maxwell - Confidential
   2           A.      I can only testify to the years
   3    when I was present.
   4           Q.      Right.
   5           A.      And I can also only testify to
   6    people I personally either met and/or worked
   7    with and/or invited, to find the correct
   8    word, I don't know what the correct word is,
   9    to come to do exercise or whatever it was at
  10    the house.
  11                  Of the people that I, male and/or
  12    female that I brought were all appropriate
  13    and age appropriate adults.
  14           Q.     Over the age of 18?
  15           A.     We've established them as an adult.
  16           Q.     You are saying appropriate adults,
  17    so we are clear, you didn't hire or bring in
  18    or know of any exercise instructors that were
  19    under the age of 18 at any of those homes?
  20           A.     I am also testifying that when I
  21    was present at the house and with the people
  22    that I brought in, were all age appropriate
  23    adults.
  24           Q.     How do you define age appropriate
  25    adults, is that over the age of 18, can we
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 251
                                                              36 ofof44
                                                                      465


                                                                      Page 250
   1                G Maxwell - Confidential
   2    agree to that?
   3                   MR. PAGLIUCA:     Objection to the
   4           form and foundation.
   5           Q.      Are they under the age of 18?
   6           A.      We already established that you can
   7    be a masseuse in Florida at age 17.              That
   8    does not make it inappropriate.
   9           A.      I'm not saying appropriate or
  10    inappropriate.       I'm just asking if there were
  11    any exercise instructors that were under the
  12    age of 18.
  13           A.     I am not aware if anybody was but I
  14    don't want to full out and say you oh she
  15    said, we already established you can be a 17
  16    year old masseuse and have it not be
  17    something that is not appropriate.              So when
  18    you say that and then you go, well, you come
  19    back and say something, now we can establish
  20    that Virginia was 17 but you can be a 17 year
  21    old legal masseuse, but I am not aware to
  22    your point.
  23           Q.     Who were the other 17 year old
  24    masseuses that you were aware of?
  25           A.     I am not aware of any.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 252
                                                              37 ofof44
                                                                      465


                                                                      Page 251
   1                G Maxwell - Confidential
   2           Q.      Were there any 16 year year old
   3    masseuse that you are aware of?
   4           A.      I am not aware.
   5           Q.      Any 15?
   6           A.      I just want to be clear.         The only
   7    person that I am aware of who claims to have
   8    been a -- we have to -- we established
   9    Virginia now is 17, given she has changed her
  10    age so many times.         The only person that I am
  11    aware of that was a masseuse at the time when
  12    I was present in the house was Virginia.
  13           Q.     Is it an obvious lie that Jeffrey
  14    Epstein had a sexual preference for underage
  15    miners?
  16                  MR. PAGLIUCA:      Objection to the
  17           form and foundation.
  18           A.     Can you ask the question again?
  19           Q.     It is it an obvious lie that
  20    Jeffrey Epstein had a sexual preference for
  21    underage minors?
  22                  MR. PAGLIUCA:      Objection to the
  23           form and foundation.
  24           A.     Can you ask the question again?
  25           Q.     Is it an obvious lie that Jeffrey
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 253
                                                              38 ofof44
                                                                      465


                                                                      Page 252
   1                G Maxwell - Confidential
   2    Epstein had a sexual preference for underage
   3    minors?
   4                   MR. PAGLIUCA:     Object to the form
   5           and foundation.
   6           A.      I cannot testify to what
   7    Jeffrey's --
   8           Q.      You don't know his preference?
   9           A.      You handed me a stack of papers
  10    from the police reports and that's what I've
  11    read but I have no knowledge, direct
  12    knowledge, of what you are referencing.
  13           Q.     So you don't know, you don't know
  14    in your own mind that Jeffrey Epstein had a
  15    sexual preference for underage minors, is
  16    that correct?
  17                  MR. PAGLIUCA:      Objection to the
  18           form and foundation.
  19           Q.     Is that correct?
  20           A.     Please ask the question again.
  21           Q.     You don't know in your own mind
  22    that Jeffrey Epstein had a sexual preference
  23    for underage minors?
  24                  MR. PAGLIUCA:      Objection to the
  25           form and foundation.         You have to pause,
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 254
                                                              39 ofof44
                                                                      465


                                                                      Page 253
   1                G Maxwell - Confidential
   2           let me object, answer the question.
   3           Listen to her question, pause, I object,
   4           you answer.
   5           Q.      So you don't know in your own mind
   6    that Jeffrey Epstein had a sexual preference
   7    for underage minors?
   8                   MR. PAGLIUCA:     Objection to the
   9           form and foundation.
  10           Q.     You can answer.
  11           A.     I cannot tell you what Jeffrey's
  12    story is.      I'm not able to.
  13           Q.     Did Jeffrey Epstein have a scheme
  14    to recruit underage girls to use them for
  15    purposes of sexual massages?
  16                  MR. PAGLIUCA:      Objection to the
  17           form and foundation.
  18           A.     Can you ask me again, please?
  19           Q.     Did Jeffrey Epstein have a scheme
  20    to recruit underage girls to recruit them for
  21    sexual massages?
  22                  MR. PAGLIUCA:      Objection to the
  23           form and foundation.
  24           A.     Can you ask it a different way?
  25           Q.     Did Jeffrey Epstein have a scheme
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 255
                                                              40 ofof44
                                                                      465


                                                                      Page 254
   1                G Maxwell - Confidential
   2    to recruit underage girls for sexual
   3    massages?
   4                   MR. PAGLIUCA:     Objection to the
   5           form and foundation.
   6           Q.      If you know.
   7           A.      I don't know what you are talking
   8    about.
   9           Q.      Is it an obvious lie that Virginia
  10    Giuffre was a minor the first time she was
  11    taken to Jeffrey Epstein's house?
  12                  MR. PAGLIUCA:      Objection to the
  13           form and foundation.
  14           A.     So we've already established that
  15    Virginia was 17 and we have established that
  16    her mother brought her to the house and that
  17    she came as a masseuse, age 17, which is
  18    legal in Florida.
  19           Q.     Would Jeffrey Epstein's assistants
  20    arrange times for underage girls to come to
  21    the house for sexual massages?
  22                  MR. PAGLIUCA:      Objection to the
  23           form and foundation.
  24           A.     What are you talking about?
  25           Q.     Sure.    Would Jeffrey Epstein's
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 383
                                                              41 ofof44
                                                                      465


                                                                      Page 382
   1                G Maxwell - Confidential
   2           A.      I know nothing about that
   3    transaction.
   4           Q.      Can you list for me all the girls
   5    that you have met and brought to Jeffrey
   6    Epstein's house that were under the age of
   7    18?
   8                   MR. PAGLIUCA:     Objection to the
   9           form and foundation.
  10           A.     I could only recall my family
  11    members that were there and I could not make
  12    a list of anyone else because that list -- it
  13    never happened that I can think of.
  14           Q.     I'm talking about the time you were
  15    working for Jeffrey Epstein, can you list all
  16    girls that you found for Jeffrey Epstein that
  17    were under the age of 18 to come work for him
  18    in any capacity?
  19                  MR. PAGLIUCA:      Objection to the
  20           form and foundation.
  21           A.     I didn't find the girls.
  22           Q.     You choose the word.
  23                  MR. PAGLIUCA:      If you have a
  24           question ask it, you don't choose the
  25           word.
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 384
                                                              42 ofof44
                                                                      465


                                                                      Page 383
   1                G Maxwell - Confidential
   2           Q.      List all of the girls you met and
   3    brought to Jeffrey Epstein's home for the
   4    purposes of employment that were under the
   5    age of 18?
   6                   MR. PAGLIUCA:     Objection to the
   7           form and foundation.
   8           A.      I've already characterized my job
   9    was to find people, adults, professional
  10    people to do the jobs I listed before; pool
  11    person, secretary, house person, chef, pilot,
  12    architect.
  13           Q.     I'm asking about individuals under
  14    the age of 18, not adult persons, people
  15    under the age of 18.
  16           A.     I looked for people or tried to
  17    find people to fill professional jobs in
  18    professional situations.
  19           Q.     So Virginia Roberts was under the
  20    age of 18, correct?
  21           A.     I think we've established that
  22    Virginia was 17.
  23           Q.     Is she the -- sorry, go ahead.
  24                  Is she the only individual that you
  25    met for purposes of hiring someone for
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 385
                                                              43 ofof44
                                                                      465


                                                                      Page 384
   1                G Maxwell - Confidential
   2    Jeffrey that was under the age of 18?
   3                   MR. PAGLIUCA:     Objection to form
   4           and foundation.       Mischaracterizes her
   5           testimony.
   6           A.      I didn't hire people.
   7           Q.      I said met.
   8           A.      I interviewed people for jobs for
   9    professional things and I am not aware of
  10    anyone aside from now Virginia who clearly
  11    was a masseuse aged 17 but that's, at least
  12    that's how far we know that I can think of
  13    that fulfilled any professional capacity for
  14    Jeffrey.
  15           Q.     List all the people under the age
  16    of 18 that you interacted with at any of
  17    Jeffrey's properties?
  18           A.     I'm not aware of anybody that I
  19    interacted with, other than obviously
  20    Virginia who was 17 at this point?
  21                  (Maxwell Exhibit 21, email, marked
  22           for identification.)
  23           Q.     I'm showing you what's been marked
  24    as Maxwell 21, it's an email dated January
  25    21, 2015 from Jeffrey to you.            Is that, you
Case
 Case1:15-cv-07433-LAP
       1:20-cr-00330-AJN Document
                          Document1137-13
                                   204-10 Filed
                                          Filed 10/22/20
                                                04/16/21 Page
                                                         Page 414
                                                              44 ofof44
                                                                      465


                                                                      Page 413
   1              G Maxwell - Confidential
   2                  MS. McCAWLEY:      I will state for the
   3           record there were questions today that
   4           remain unanswered because the witness
   5           has been instructed not to answer those
   6           questions and we will be raising our
   7           objections with the court to be able to
   8           have those questions answered in the
   9           near future.
  10                  MR. PAGLIUCA:      So we are clear, we
  11           are designating this entire deposition
  12           as confidential under the protective
  13           order.    That would cover the paralegal
  14           whose been present as well as the court
  15           reporter and the videographer and all
  16           the lawyers in the room.
  17                  THE VIDEOGRAPHER:        This concludes
  18           today's proceedings.         We are off the
  19           record at 6:43 p.m.
  20                  (Time noted: 6:43 p.m.)
  21
  22
  23
  24
  25
